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                                UNITED STATES DISTRICT COURT
                                WESTERN DISTRICT OF KENTUCKY
                                        AT LOUISVILLE


LISA MCCLANAHAN                                                                      PLAINTIFF

vs.                                                    CIVIL ACTION NO. 3:19-CV-767-CRS

COUNTRY DOOR, INC.                                                                 DEFENDANT


                                     ORDER OF DISMISSAL

          The Court having been advised by counsel that a settlement has been reached on all

matters in this case (DN 9),

          IT IS HEREBY ORDERED as follows:

          1.      This matter is DISMISSED WITHOUT PREJUDICE, all dates and deadlines

are hereby VACATED, and this matter is STRICKEN from the ACTIVE DOCKET with leave

to reinstate within sixty (60) days if the settlement is not consummated.

          2.      The parties may tender a supplemental order of dismissal with prejudice if they so

desire.

          Date:   December 4, 2019




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cc: Counsel of Record
